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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,                     Case No. 17-20357-CR-DPG
        Plaintiff,
  v.

  DMITRY POLYUDOV,
       Defendant.


    DEFENDANT’S UNOPPOSED MOTION TO CONTINUE OR CANCEL PLEA AND
                         SENTENCE HEARING


         Defendant, DMITRY POYUDOV, through undersigned Court-appointed counsel, moves

  this Court for entry of an Order continuing or cancelling the Plea and Sentencing Hearing set for

  tomorrow, September 25, 2019 and, in support thereof, states as follows:

        1.         This Court appointed undersigned counsel on August 27, 2019 in this multi-

 defendant case.

        2.         Counsel fairly quickly communicated with AUSA Brian Shack, received a plea

 offer and discussed it with the Defendant at the FDC.

        3.         The charge in this case is marriage fraud. Defendant is a citizen of Russia and

 faces deportation, if convicted, although he has resided here in the USA for 12 years, has always

 been gainfully employed and has a 7 year old American citizen son that he supports.

        4.         Defendant is detained and initially decided to enter a change of plea, so counsel

 so advised the Court and the Court set tomorrow’s hearing to resolve this case.

        5.         However, after talking with his mother in the past few days and considering his

 son, Defendant is now unsure how to proceed and desires additional time to explore any

 immigration options he may have to try to remain in the USA before determining the best way to

 proceed in this criminal case.
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        6.       Defendant’s undersigned counsel has reached out to some immigration attorneys

 for some advice and needs additional time to consider any immigration options and may need to

 file a motion concerning that issue.

        7.       Accordingly, defendant requests that this Court continue or cancel his Plea and

 Sentencing Hearing.

        8.       AUSA Brian Shack, Esq., handling this case for the government, authorized

 undersigned counsel during a telephone conversation yesterday afternoon to advise the Court that

 this Motion is unopposed.

         WHEREFORE, for the foregoing reasons, Defendant, DMITRY POLYUDOV,

  respectfully requests that this Court enter an Order granting the relief sought in this Motion.

                                                Respectfully submitted,

                                                JOHN F. O’DONNELL, ESQ.
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                                                By: /s/
                                                          John F. O’Donnell, Esq.
                                                          Florida Bar No. 264891

                                        CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was furnished by electronic filing to

  all counsel of record and all others entitled to receive electronic or other notice of this filing in

  this case on this 24th day of September, 2019.

                                                /s/
                                                John F. O’Donnell, Esq.




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